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                                                    Onemata Corporation
                                                             A Colorado Corporation




                                       FIRST AMENDED AND RESTATED
                                        STOCKHOLDERS AGREEMENT

                                                    Dated as of January 1, 2020
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                                             FIRST AMENDED AND RESTATED
                                              STOCKHOLDERS AGREEMENT

                     This First Amended and Restated Stockholders Agreement (this “Agreement”), is made
             effective as of January 1, 2020, by and among Onemata Corporation, a Colorado corporation (the
             “Company”); and the Securityholders of the Company who have executed a counterpart
             signature page to this Agreement. In addition, this Agreement shall be binding any Person that
             becomes a Securityholder at any time, whether as of the date of this Agreement or in the future.

                                                             ARTICLE 1

                                                             Definitions

                   As used in this Agreement, the following terms shall have the following respective
             meanings:

                   “Common Stock” means the Class A Voting Common Stock, no par value, and the Class
             B Non-Voting Common Stock, no par value, of the Company.

                     “Company” has the meaning ascribed to that term in the caption.

                     “Company Securities” mean any equity securities, or securities convertible into or
             exercisable or exchangeable for equity securities, of the Company, whether now owned or
             hereafter acquired.

                    “Person” means an individual, corporation, partnership, limited liability company, joint
             venture, trust, unincorporated organization, governmental agency or authority or any other entity
             of any kind.

                    “Purchase Price” means the consideration to be delivered to a Securityholder for a
             proposed Transfer.

                     “Relation” means, with respect to any Person, such Persons spouse and the parents,
             grandparents, brothers and sisters, children and grandchildren of such Person or of such Persons
             spouse.

                     “Securityholder” means any Person holding Company Securities.

                     “Smith” means William W. Smith, III, an individual residing in Colorado.

                     “Transfer” means any sale, assignment, pledge, hypothecation, encumbrance, disposition,
             transfer (including, without limitation, a transfer by will or intestate distribution), gift or attempt
             to create or grant a security interest in Company Securities, whether voluntary, involuntary, by
             operation of law or otherwise.




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                                                             ARTICLE 2

             Restrictions on Transfers of Company Securities

                      2.1    Restriction on Transfers. Any Transfer of Company Securities by any
             Securityholder other than Smith that is not made in compliance with this Section 2 or Section 3
             (as applicable) of this Agreement will be null and void, and the Company will not recognize any
             such purported Transfer or any purported new Securityholder resulting from the attempted
             Transfer. If Section 3 below is applicable, this Section 2.1 does not apply unless and until the
             Repurchase Option (defined below) terminates without exercise. Smith is not subject to the
             restrictions on Transfer in this Section 2.1.

                     2.2      Rights of First Refusal.

                             (a)    If any Securityholder desires to Transfer all or any portion of his, her or its
             Company Securities (the “Offered Securities”) pursuant to a bona fide offer for cash or
             indebtedness such Securityholder (the “Selling Securityholder”) shall first deliver to the
             Company and Smith written notice thereof (the “Notice of Sale”). The Notice of Sale shall set
             forth a description of the proposed Transfer, including the name of the proposed transferee, the
             number of Offered Securities involved, the Purchase Price, the date on or about which the
             proposed Transfer is to be made, the percentage of the Selling Securityholder's total holdings of
             Company Securities that the number of such Offered Securities proposed to be Transferred
             represent and all other terms and conditions of the proposed Transfer. Any offer in which the
             Purchase Price does not consist of cash or indebtedness shall not be considered a bona fide offer
             and shall not give any Securityholder the right to avail himself, herself or itself of the provisions
             of this Section 2.2.

                            (b)      For a period of 20 days following receipt of such Notice of Sale, the
             Company shall have the right to purchase all or any part of the Offered Securities designated in
             the Notice of Sale (i) for a purchase price equal to the product of the per share Purchase Price for
             all of the Offered Securities and the number of Offered Securities to be purchased by the
             Company, and (ii) on the terms and conditions set forth in the Notice of Sale. Notice of the
             Company's intention to purchase the Offered Securities shall be evidenced by a writing signed by
             the President of the Company and delivered to the Selling Securityholder and Smith prior to the
             end of the 20-day period following the Company's receipt of the Notice of Sale (the
             "Securityholder Notice"). Such acceptance shall specify the number of Offered Securities which
             the Company desires to purchase, and, if the Company does not elect to purchase all of the
             Offered Securities, the Securityholder Notice shall specify the number of Offered Securities not
             elected to be purchased by the Company (the "Remaining Securities"). If the Company elects to
             purchase all of the Offered Securities, the closing of the Company's purchase of such Offered
             Securities shall occur no later than 60 days following the Company's receipt of the Notice of
             Sale.

                             (c)    If the Company does not elect to purchase all of the Offered Securities,
             then for a period of 20 days following receipt of the Securityholder Notice, Smith shall have the
             right to purchase part or all of the Remaining Securities (i) for a purchase price equal to the



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             product of the per share Purchase Price for all of the Offered Securities and the number of
             Remaining Securities to be purchased by Smith, and (ii) on the terms and conditions set forth in
             the Notice of Sale. Notice of Smith's intention to purchase Remaining Securities shall be
             evidenced by a writing signed by Smith and delivered to the Company prior to the end of the 20-
             day period following receipt of the Securityholder Notice. Such acceptance shall specify the
             greatest number of Remaining Securities which such Smith desires to purchase (the "Desired
             Securities"). The closing of such purchase of Desired Securities shall occur no later than 60 days
             following Smith's receipt of the Securityholder Notice.

                              (d)    If the Company and Smith do not elect to purchase, in the aggregate, all of
             the Offered Securities within the relevant time periods identified above, then the rights of first
             refusal, on the unpurchased Offered Securities, shall terminate, and the unpurchased Offered
             Securities may be Transferred by the Selling Securityholder to the transferee named in the Notice
             of Sale upon terms no more favorable to the transferee than those specified in the Notice of Sale,
             free of the rights of first refusal set forth in this Section 2.2; provided, however that the
             transferee shall become a party to this Agreement, shall execute and deliver a counterpart of this
             Agreement and shall agree to be subject to the restrictions and obligations hereunder; provided,
             further, that all of such restrictions and obligations shall remain in full force and effect with
             respect to the balance of the Selling Securityholder's Company Securities which were not offered
             for sale (if any); provided, further, that such Transfer must be completed within 60 days after the
             expiration of the relevant time periods identified above and on the terms and conditions
             described in the Notice of Sale, and if such Transfer is not consummated within such 60-day
             time period, then the Selling Securityholder must reoffer to the Company and Smith, in
             accordance with the provisions of this Section 2.2, the Company Securities that he, she or it
             desires to Transfer before the Selling Securityholder may thereafter Transfer all or any portion of
             his, her or its Company Securities.

                     2.3     Securities Law Restrictions. Notwithstanding any other provision in this
             Agreement, but subject to express written waiver by the Company in the exercise of its good
             faith and reasonable judgment, no Securityholder shall Transfer any Company Securities without
             the registration of the Transfer of such Company Securities under the Securities Act of 1933, as
             amended, or until the Company shall have received such legal opinions or other assurances that
             such Transfer is exempt from the registration requirements of the Securities Act of 1933, as
             amended, and applicable state securities laws as the Company in its good faith and reasonable
             discretion deems appropriate in light of the facts and circumstances relating to such proposed
             Transfer, together with such representations, warranties, indemnifications and other assurances
             from the transferor and the transferee as the Company in its good faith and reasonable discretion
             deems appropriate to confirm the accuracy of the facts and circumstances that are the basis for
             any such opinion and to protect the Company and the other Securityholders from any liability
             resulting from any such Transfer.




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                                                             ARTICLE 3

                                                      Stock Repurchase Rights

                     3.1      Forfeiture and Repurchase right.

                              (a)     Termination of Employment for Reasons Other than Death or Disability.

                                    (i)      If a Securityholder’s employment with the Company is terminated
             (1) by the Company for Cause (as defined below), or (2) by the Securityholder without Good
             Reason (as defined below), the Company or any assignee of the Company’s rights under this
             provision will have the right and option to purchase from that Securityholder all of the Company
             Securities owned by that Securityholder as of the date of termination of the Securityholder’s
             employment at the price per share determined by the Board of Directors’ most recent annual
             valuation of the Company, or if such annual valuation has not been determined in the two years
             prior to such termination of employment, at a price per share determined by appraisal in
             accordance with Section 3.2 (the “Repurchase Option”). If, however, the Securityholder (a) did
             not give the Board of Directors or his/her direct supervisor at least three months prior written
             notice of his/her termination, the price per share will be reduced by 25%; or (b) gave the Board
             of Directors or his/her direct supervisor over three months, but less than six months, prior written
             notice of his/her termination, the price per share will be reduced by 15%.

                                    (ii)   Upon the occurrence of a termination of employment covered by
             Section 3.1(a)(i) above, the Company or its assignee of its rights may exercise the Repurchase
             Option by delivering personally, by courier, or by certified mail to the Securityholder, at any
             time following such termination of employment, a written notice of the Company’s or the
             assignee’s intention to exercise the Repurchase Option (the “Repurchase Option Exercise
             Notice”). The Repurchase Option Exercise Notice must state the date for the closing of the
             purchase, which date must be not later than 30 days after the delivery (as defined in Section 6.3
             below) of the notice to the Securityholder. The closing will occur at the principal office of the
             Company, unless the Company or its assignee and the Securityholder agree on a different
             location for the closing. At the closing, the holder of the certificate evidencing the Company
             Securities shall deliver the certificate to the Company or its assignee (as applicable), and the
             Company or its assignee will deliver to the Securityholder the payment for the Company
             Securities being purchased. Unless the Company or its assignee (as applicable) agree to pay the
             total purchase price for the Company Securities in cash at closing, the payment for the Company
             Securities being purchased will be in the form of a Promissory Note from the Company or its
             assignee, with the purchase price being the principal amount of the Promissory Note, and
             payment of the Promissory Note amortized over six years; and with interest at the lesser of (a)
             the “prime rate” as published in The Wall Street Journal on the 15th day of the month last
             preceding the date of the closing, or the next business day after that day if the 15th day of the
             month fell on a weekend or holiday, plus 1%; or (b) 8% per annum.

                                    (iii)   If the Company decides to assign the Repurchase Option, it may
             assign it to one or more other persons, provided that (a) the transfer of the Company Securities to



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             the other person or persons would not violate Section 4.2 of this Agreement; and (b) as is the
             case with the Company, the person, or persons collectively, must exercise the entire Repurchase
             Option or decline to exercise the Repurchase Option.

                                    (iv)    This Agreement will continue to apply to the Securityholder whose
             employment has terminated until the Repurchase Option has been exercised and the closing
             under Section 3.1(a)(ii) has occurred.

                                  (v)          Certain Definitions. In this Agreement, the following terms have
             the following meanings:

                                     A.      "Cause" means: (i) the continued failure of a person who is an
             employee of the Company, after written notice is given to that person, to comply with the
             reasonable written directives of the Board of Directors of the Company or a superior officer or
             manager of the Company; (ii) the failure of a person to comply with the written terms of
             employment with the Company, and if a cure period exists in the written document for that
             breach, the non-compliance is not cured within the time period specified; (iii) any willful
             misconduct of the person resulting in material and demonstrable damage to the Company or its
             subsidiaries (if any); (iv) the use of alcohol or other substances by the person that substantially
             interferes with his or her ability to perform the essential functions of the position with the
             Company; or (v) engaging within the State of Colorado in any business that is In Competition (as
             defined below) with the business conducted by the Company, whether as proprietor, partner,
             joint venturer, employer, agent, employee, consultant, officer, or beneficial or record owner of
             more than 5% of the stock of a Company, business, or association. In this Agreement, a business
             is in "In Competition" with the Company if it is engaged in a business that is the same or similar
             to the business of the Company.

                                    B.      "Good Reason" will exist only at the happening of one or more of
             the following events without the consent of the person: (i) a relocation of more than fifty (50)
             miles of the person's office location; (ii) a material decrease in the person's base salary with the
             Company; (iii) a material and adverse change in the person's duties, control, authority, status, or
             position, or the assignment to the person of duties or responsibilities that are materially
             inconsistent with such status or position; (iv) a material breach by the Company of a written
             employment agreement, which breach is not cured within the time permitted in the written
             agreement; or (v) for the sole purpose of this Article 3, the dissolution and liquidation of the
             Company. Notwithstanding the prior sentence, Good Reason will exist only if the person: (1)
             first notifies the Board of Directors of the Company in writing of the event (or events) that the
             person believes constitutes a Good Reason event under subparts (i), (ii), (iii), and/or (iv) above
             within sixty (60) days from the date of that event; and (2) provides the Company with at least
             thirty (30) days to cure, correct, or mitigate the Good Reason event so that it either (A) does not
             constitute a Good Reason event, or (B) the person agrees, in writing, that after any such
             modification or accommodation made by the Company that the event does not constitute a Good
             Reason event.

                           (b)    Death or Disability of Securityholder. Upon the death or Disability (as
             defined below) of a Securityholder who is an individual, the Company or its assignee will have



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             the same Repurchase Option as in Section 3.1(a) above, except that (1) the Repurchase Option
             Exercise Notice must be delivered to the Securityholder, or to the Securityholder’s personal
             representative if the Secuirtyholder has died or has a personal representative because of
             incompetence, within 90 days after the Board of Directors of the Company is informed of the
             death or Disability of the Securityholder; and (2) the purchase price will not be reduced as could
             happen under Section 3.1(a)(i) above. For purposes of this Article 3, an individual will be
             deemed to have sustained a "Disability" if the individual has been unable to substantially
             perform his or her duties as an employee or director of the Company as a result of sickness or
             injury; and he or she remained unable to perform any such duties for a period of more than one
             hundred twenty (120) days in any twelve (12) month period.

                     3.2     Appraisal. In the event an appraisal is required under Section 3.1(a)(1), it is
             agreed that, for the purpose of determining the purchase price to be paid, the price of each share
             of stock shall be determined by agreement or appraisal as provided in this Section 3.2. The
             parties to the purchase and sale shall attempt to agree upon a fair market value per share within
             fifteen (15) days of the date of the Repurchase Option Exercise Notice under Section 3.1. If the
             parties are unable to agree upon a purchase price per share within said period, the purchase price
             per share shall be determined by appraisal as follows: The transferring shareholder or the
             transferring shareholder’s legal representative, as appropriate, shall designate one certified public
             accountant (CPA) and the acquiring party (the Company or Smith, as the case may be) shall
             designate one CPA. The CPAs shall jointly determine the fair market value per share. If the two
             CPAs cannot agree upon a value within thirty (30) days, they shall appoint a third CPA who,
             within fifteen (15) days, shall make a determination of fair market value per share, which
             determination shall be final. For purposes of this Agreement, the fair market value per share shall
             be the cash price at which a willing seller would sell and a willing buyer would buy, both having
             full knowledge of the relevant facts and being under no compulsion to buy or sell, in an arm’s-
             length transaction without time constraints. Such appraisal shall take into consideration only the
             cash value of life insurance owned by the Company on the lives of the Shareholders, and shall
             not consider any death benefit payable to the Company as a consequence of the death of a
             shareholder whose shares are to be purchased pursuant to this Agreement. Such appraisals shall
             apply an appropriate lack of control and lack of marketability discounts in determining the fair
             market value per share. The valuation date for purposes of this Section 3.2, shall be the last day
             of the month preceding the month in which the event occurred which has given rise to the
             purchase and sale.

                     3.3      Transferability of the Shares; Escrow.

                          (a)    Each Securityholder hereby authorizes and directs the Secretary of the
             Company, or such other person designated by the Company, to transfer the shares as to which the
             Repurchase Option has been exercised from Securityholder to the Company.

                           (b)       To insure the availability for delivery of Securityholder's shares upon
             repurchase by the Company pursuant to the Repurchase Option under Section 3.1, each
             Securityholder hereby appoints the Secretary, or any other person designated by the Company as
             escrow agent, as its attorney-in-fact to sell, assign and transfer unto the Company, such shares, if
             any, repurchased by the Company pursuant to the Repurchase Option and shall, upon execution



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             of this Agreement, deliver and deposit with the Secretary of the Company, or such other person
             designated by the Company, the share certificates representing the shares, together with the stock
             assignment duly endorsed in blank, attached hereto as Exhibit A. The shares and stock
             assignment shall be held by the Secretary in escrow, pursuant to the Joint Escrow Instructions of
             the Company and Securityholder attached as Exhibit B hereto, until the Company exercises its
             Repurchase Option or until such time as this Agreement no longer is in effect.

                              (c)  The Company, or its designee, shall not be liable for any act it may do or
             omit to do with respect to holding the shares in escrow and while acting in good faith and in the
             exercise of its judgment.

                    3.4    Ownership, Voting Rights, Duties. This Agreement shall not affect in any way the
             ownership, voting rights or other rights or duties of the Securityholder, except as specifically
             provided herein.

                                                             ARTICLE 4

                                                         Other Agreements

                     4.1    No Encumbrance. Except as otherwise provided in this Agreement, no
             Securityholder shall pledge, hypothecate, encumber or otherwise permit a security interest to
             attach to Company Securities, whether now owned or hereafter acquired, or contract to pledge,
             hypothecate or encumber such Company Securities, without the prior written consent of the
             Company and Smith. Whether or not such consent is given, the rights of any securityholder shall
             be subordinate and subject to the rights and obligations created by this Agreement.

                     4.2     Qualified Subchapter “S” Subsidiary Election. The Securityholders acknowledge
             that the Company may elect to be taxed as a “small business corporation” under Subchapter S of
             the Internal Revenue Code, or the corresponding provisions of subsequent federal income tax
             statutes. The Securityholders acknowledge their intention to continue such election unless the
             Board of Directors votes otherwise. So long as the Company is taxable as an S corporation, the
             Securityholders shall not, without the unanimous consent of the other Securityholders or the
             Board of Directors, take any action, or make any transfer or other disposition of Company
             Securities that will result in the termination or revocation of such election from year to year. In
             accordance with the foregoing, it shall be a condition of any transfer of Company Securities by a
             Securityholder that the transferee agree in writing with the Company and any other
             Securityholder prior to such transfer, to be bound by the foregoing provisions of this Section 4.2
             as though he or she were an original Securityholder. If any provision of this Agreement would
             result in the Company being ineligible to be treated as an S corporation for federal tax purposes,
             such provisions shall be null and void.

                                                             ARTICLE 5

                                                         Restrictive Legend

                    All certificates representing Company Securities, whether now owned or hereafter
             acquired, shall bear the following legend:


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                              “The securities represented by this certificate have not been registered
                              under either the Securities Act of 1933 (the “Act”) or applicable state
                              securities laws and may not be sold, transferred, assigned, offered,
                              pledged or otherwise distributed for value unless there is an effective
                              registration statement under such Act and such laws covering such
                              securities, or the Corporation receives an opinion of counsel acceptable
                              to the Corporation stating that such sale, transfer, assignment, offer,
                              pledge or other distribution for value is exempt from the registration and
                              prospectus delivery requirement of such Act and such law.
                              Notwithstanding the foregoing, the securities represented by this
                              certificate are subject to the terms and provisions of the First Amended
                              and Restated Stockholders Agreement of the Corporation dated as of
                              January 1, 2020 (the “Onemata Stockholders Agreement”). Any transfer
                              or assignment of these securities are subject to forfeiture by the
                              transferor, transferee and any holder of this certificate. A copy of the
                              Onemata Stockholders Agreement is on file in the office of the Secretary
                              of the Corporation. By acceptance of this certificate, the holder and any
                              transferee of the holder hereof agrees to be bound by all of the terms,
                              conditions and provisions of this legend and the Onemata Stockholders
                              Agreement.”

                                                             ARTICLE 6

                                                         Drag-Along Rights

                     6.1     Definitions. A “Sale of the Company” shall mean either: (a) a transaction or series
             of related transactions in which a person or entity, or a group of related persons or entities,
             acquires from the shareholders of the Company shares representing more than fifty percent
             (50%) of the outstanding voting power of the Company (a “Stock Sale”); or (b) any of the
             following transactions: (i) the sale or other disposition (other than by pledge or mortgage to a
             bona fide lender or in the ordinary course of business) of all or substantially all of the assets of
             the Company and its subsidiaries taken as a whole or (ii) the merger or consolidation of the
             Company with or into any other entity in which the Company is not the surviving or resulting
             entity and the Securityholders of the Company own less than fifty percent (50%) of the voting
             securities of the surviving or resulting corporation following such merger or consolidation.

                     6.2     Actions to be Taken. Notwithstanding anything to the contrary in this Agreement,
             in the event that the holders of a majority of the shares of Class A Voting Common Stock
             (“Selling Shareholders”) approve a Sale of the Company in writing, specifying that this Article 6
             shall apply to such transaction, then each shareholder hereby agrees:

                            (a)    if such transaction requires shareholder approval, with respect to all shares
             that such shareholder owns or over which such shareholder otherwise exercises voting power, to
             vote (in person, by proxy or by action by written consent, as applicable) all shares in favor of,
             and adopt, such Sale of the Company (together with any related amendment to the Articles of
             Incorporation required in order to implement such Sale of the Company) and to vote in
             opposition to any and all other proposals that could reasonably be expected to delay or impair the



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             ability of the Company to consummate such Sale of the Company;

                             (b)    if such transaction is a Stock Sale, to sell the same proportion of shares of
             capital stock of the Company beneficially held by such shareholder as is being sold by the selling
             shareholders to the person or entity to whom the selling shareholders propose to sell their shares,
             and on the same terms and conditions as the selling shareholders;

                            (c)     to execute and deliver all related documentation and take such other action
             in support of the Sale of the Company as shall reasonably be requested by the Company or the
             selling shareholders in order to carry out the terms and provisions of this Article 6, including
             without limitation, executing and delivering instruments of conveyance and transfer, and any
             purchase agreement, merger agreement, indemnity agreement, escrow agreement, consent,
             waiver, governmental filing, share certificates duly indorsed for transfer (free and clear of
             impermissible liens, claims and encumbrances) and any similar or related documents;

                           (d)     to refrain from exercising any dissenters’ rights or rights of appraisal
             under applicable law at any time with respect to such Sale of the Company; and

                             (e)    if the consideration to be paid in exchange for the shares pursuant to this
             Article 6 includes any securities and due receipt thereof by any shareholder would require under
             applicable law (x) the registration or qualification of such securities or of any person as a broker
             or dealer or agent with respect to such securities or (y) the provision to any shareholder of any
             information other than such information as a prudent issuer would generally furnish in an
             offering made solely to “accredited investors” as defined in Regulation D of the Securities Act of
             1933, as amended, the Company may cause to be paid to any such shareholder in lieu thereof,
             against surrender of the shares which would have otherwise been sold by such shareholder, an
             amount in cash equal to the fair value (as determined in good faith by the Company) of the
             securities which such shareholder would otherwise receive as of the date of the issuance of such
             securities in exchange for the shares.

                                                             ARTICLE 7

                                                         General Provisions

                     7.1     Successors and Assigns. The parties to this Agreement agree that the provisions
             of this Agreement shall be effective, valid and binding upon them and inure to their benefit and
             their respective heirs, executors, administrators, successors and assigns, and acknowledge
             explicitly that the effectiveness of this Agreement is not conditioned upon the execution of the
             Agreement by each and every Securityholder of the Company.

                     7.2     Entire Agreement; Relation to Stock Purchase Agreement; Amendment. This
             Agreement constitutes the full and entire understanding and agreement between the parties with
             regard to the subject matter hereof, and no party shall be liable or bound to any other party in any
             manner by any warranties, representations or covenants except as specifically set forth herein.
             The parties agree that in the event of any conflict between this Agreement and any stock
             purchase agreement by and between the Company or Smith and any Securityholder, the terms of



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             this Agreement shall control. Except as otherwise provided herein, this Agreement or any term
             hereof may be amended, waived, discharged or terminated by the consent of the Company,
             Smith, the holder of a majority of the Class A Voting Common Stock and the holders of a
             majority of the Class B Non-Voting Common Stock, provided, however, that no such
             amendment, waiver, discharge or termination shall not materially and adversely affect the rights
             of any Securityholder unless all Securityholders are treated equally.

                     7.3      Notices.

                              (a)      Any and all notices, consents, offers, elections and other communications
             required or permitted under this Agreement shall be deemed adequately given only if in writing
             and the same shall be delivered either personally or by mail or Federal Express or similar
             expedited commercial carrier, addressed to the recipient of the notice, postage prepaid and
             registered or certified with return receipt requested (if by mail), or with all freight charges
             prepaid (if by Federal Express or similar carrier), addressed (i) to any Securityholder, at such
             address as set forth on the signature page to the Joint Escrow Instructions attached hereto as
             Exhibit B, or at such address as such Securityholder shall have furnished the Company in
             writing, or (ii) if to the Company, at the address set forth on the signature page hereto, addressed
             to the attention of the President, or at such other address as the Company shall have furnished to
             the Securityholders in writing.

                             (b)     Each such notice, consent, offer, election or other communication shall for
             all purposes of this Agreement be treated as effective or having been given (i) when delivered if
             delivered personally, or (ii) upon deposit in the mail or with Federal Express or similar expedited
             commercial carrier in accordance with subsection (a), as the case may be, irrespective of the
             actual receipt thereof.

                     7.4     Delays or Omissions. Except as expressly provided herein, no delay or omission
             to exercise any right, power or remedy accruing to any party hereto, upon any breach or default
             of any party hereunder, shall impair any such right, power or remedy of such party nor shall it be
             construed to be a waiver of any such breach or default, or an acquiescence therein, or of or in any
             similar breach or default thereafter occurring; nor shall any waiver of any single breach or
             default be deemed a waiver of any other breach or default theretofore or thereafter occurring.
             Any waiver, permit, consent or approval of any kind or character on the part of any party of any
             breach or default under this Agreement, or any waiver on the part of any party of any provisions
             or conditions of this Agreement, must be in writing and shall be effective only to the extent
             specifically set forth in such writing. All remedies, either under this Agreement or by law or
             otherwise afforded to any party shall be cumulative and not alternative.

                    7.5      Counterparts. This Agreement may be executed in counterparts, each of which
             shall be enforceable against the party actually executing such counterparts, and all of which
             together shall constitute one instrument.

                     7.6    Severability. Each section, subsection and lesser section of this Agreement
             constitutes a separate and distinct undertaking, covenant and/or provision hereof. In the event
             that any provision of this Agreement shall finally be determined to be unlawful, all such



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             provisions shall be deemed severed from this Agreement, but every other provision of this
             Agreement shall remain in full force and effect, and in substitution for any such provision held
             unlawful, there shall be substituted a provision of similar import reflecting the original intent of
             the parties hereto to the extent permissible under law; provided, however, that no such
             severability shall be effective if it materially changes the economic benefit of this Agreement to
             any party.

                   7.7     Titles and Subtitles. The titles and subtitles used in this Agreement are used for
             convenience only and are not considered in construing or interpreting this Agreement.

                    7.8     Specific Performance. The parties hereto agree that upon a breach of any
             provision of this Agreement a remedy at law would not be adequate, and that the parties hereto
             are entitled to injunctive relief and specific performance and any other legal or equitable
             remedies as remedies for the enforcement of this Agreement.

                     7.9    New Party. The execution and delivery of a counterpart to this Agreement
             pursuant to the terms hereof by a transferee of Company Securities or by a new Securityholder
             shall not be deemed an amendment hereof and shall not require, except as otherwise provided
             herein, the consent of any parties hereto.

                     7.10 Governing Law. This Agreement shall be governed in all respects by the laws of
             the State of Colorado.

                    7.11 Attorneys’ Fees. In the event of any dispute, arbitration or litigation between or
             among the parties to this Agreement, the substantially prevailing party(ies) shall be entitled to
             reimbursement of their attorneys’ fees and costs from the non-prevailing party(ies).



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             IN WITNESS WHEREOF, this First Amended and Restated Stockholders Agreement is
             hereby executed effective as of the date first above written.


             THE COMPANY:                                          Onemata Corporation


                                                                  By:____________________________
                                                                     William W. Smith, III
                                                                     President


             THE SECURITYHOLDERS:                                 _______________________________
                                                                  William W. Smith, III


                                                                  _______________________________
                                                                  Clay Anselmo


                                                                  _______________________________
                                                                  Jerry Pokorny


                                                                  _______________________________
                                                                  Rick Owens


                                                                  _______________________________
                                                                  Ryan McCabe


                                                                  _______________________________
                                                                  Crystal Anzulewicz


                                                                  _______________________________
                                                                  Sara White


                                                                  _______________________________
                                                                  Mike Higgins


                                                                  _______________________________
                                                                  Brad Brown



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                                                             EXHIBIT A

                                   ASSIGNMENT SEPARATE FROM CERTIFICATE


                     FOR VALUE RECEIVED I,                                  , hereby sell, assign and
             transfer unto Onemata Corporation                               (            ) shares of the
                                  Common Stock of Onemata Corporation standing in my name of the
             books of said corporation represented by Certificate No.        herewith and do hereby
             irrevocably constitute and appoint                              to transfer the said stock on
             the books of the within named corporation with full power of substitution in the premises.

                     This Stock Assignment may be used only in accordance with the First Amended
              and Restated Stockholders Agreement between Onemata Corporation and the
              undersigned dated January 1, 2020, as the same may be amended.


              Dated:                           ,                      Signature:                            _




              INSTRUCTIONS: Please do not fill in any blanks other than the signature line. The
              purpose of this assignment is to enable the Company to exercise its “repurchase option,” as
              set forth in the Agreement, without requiring additional signatures on the part of the
              Purchaser.




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                                                             EXHIBIT B

                                          JOINT ESCROW INSTRUCTIONS

          Corporate Secretary
          Onemata Corporation
          518 17th Street, Suite 1350
          Denver, CO 80202

          Dear Secretary:

                 As Escrow Agent for both Onemata Corporation (the "Company"), and the
          undersigned purchaser of stock of the Company ("Purchaser"), you are hereby authorized
          and directed to hold the documents delivered to you pursuant to the terms of that certain
          First Amended and Restated Stockholders Agreement (the "Agreement") between the
          Company and the undersigned, in accordance with the following instructions:

          1.    In the event the Company and/or any assignee of the Company (referred to collectively
                for convenience herein as the "Company") exercises the Company's repurchase option
                set forth in the Agreement, the Company shall give to Purchaser and you a written
                notice specifying the number of shares of stock to be purchased, the purchase price,
                and the time for a closing hereunder at the principal office of the Company. Purchaser
                and the Company hereby irrevocably authorize and direct you to close the transaction
                contemplated by such notice in accordance with the terms of said notice.

          2.    At the closing, you are directed (a) to date the stock assignments necessary for the
                transfer in question, (b) to fill in the number of shares being transferred, and (c) to
                deliver the stock assignments, together with the certificate evidencing the shares of
                stock to be transferred, to the Company or its assignee, against the simultaneous
                delivery to you of the purchase price in the form provided in the Agreement, for the
                number of shares of stock being purchased pursuant to the exercise of the Company's
                repurchase option.

          3.    Purchaser irrevocably authorizes the Company to deposit with you any certificates
                evidencing shares of stock to be held by you hereunder and any additions and
                substitutions to said shares as defined in the Agreement. Purchaser does hereby
                irrevocably constitute and appoint you as Purchaser's attorney-in-fact and agent for the
                term of this escrow to execute with respect to such securities all documents necessary
                or appropriate to make such securities negotiable and to complete any transaction
                herein contemplated, including but not limited to the filing with any applicable state
                blue sky authority of any required applications for consent to, or notice of transfer of,
                the securities. Subject to the provisions of this paragraph 3, Purchaser shall exercise all
                rights and privileges of a shareholder of the Company while the shares are held by
                you.

          4.   If at the time of termination of this escrow you should have in your possession any

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                documents, securities, or other property belonging to Purchaser, you shall deliver
                all of the same to Purchaser and shall be discharged of all further obligations
                hereunder.

          5.    Your duties hereunder may be altered, amended, modified or revoked only by a
                writing signed by all of the parties hereto.

          6.    You shall be obligated only for the performance of such duties as are specifically
                set forth herein and may rely and shall be protected in relying or refraining from
                acting on any instrument reasonably believed by you to be genuine and to have
                been signed or presented by the proper party or parties. You shall not be
                personally liable for any act you may do or omit to do hereunder as Escrow Agent
                or as attorney-in-fact for Purchaser while acting in good faith, and any act done or
                omitted by you pursuant to the advice of your own attorneys shall be conclusive
                evidence of such good faith.

          7.    You are hereby expressly authorized to disregard any and all warnings given by
                any of the parties hereto or by any other person or corporation, excepting only
                orders or process of courts of law and are hereby expressly authorized to comply
                with and obey orders, judgments or decrees of any court. In case you obey or
                comply with any such order, judgment or decree, you shall not be liable to any of
                the parties hereto or to any other person, firm or corporation by reason of such
                compliance, notwithstanding any such order, judgment or decree being
                subsequently reversed, modified, annulled, set aside, vacated or found to have
                been entered without jurisdiction.

          8.    You shall not be liable in any respect on account of the identity, authorities or rights of
                the parties executing or delivering or purporting to execute or deliver the Agreement
                or any documents or papers deposited or called for hereunder.

          9.    You shall not be liable for the outlawing of any rights under the Statute of
                Limitations withꞏ respect to these Joint Escrow Instructions or any documents
                deposited with you.

          10. You shall be entitled to employ such legal counsel and other experts as you may
              deem necessary properly to advise you in connection with your obligations
              hereunder, may rely upon the advice of such counsel, and may pay such counsel
              reasonable compensation therefor.

          11. Your responsibilities as Escrow Agent hereunder shall terminate if you shall cease
              to be an officer or agent of the Company or if you shall resign by written notice to
              each party. In the event of any such termination, the Company shall appoint a
              successor Escrow Agent.

          12. If you reasonably require other or further instruments in connection with these Joint
              Escrow Instructions or obligations in respect hereto, the necessary parties hereto shall
              join in furnishing such instruments.


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          13. It is understood and agreed that should any dispute arise with respect to the delivery
              and/or ownership or right of possession of the securities held by you hereunder, you
              are authorized and directed to retain in your possession without liability to anyone all
              or any part of said securities until such disputes shall have been settled either by
              mutual written agreement of the parties concerned or by a final order, decree or
              judgment of a court of competent jurisdiction after the time for appeal has expired and
              no appeal has been perfected, but you shall be under no duty whatsoever to institute or
              defend any such proceedings.

          14. Any notice required or permitted hereunder shall be given in writing and shall be
              deemed effectively given upon personal delivery or upon deposit in the United States
              Post Office, by registered or certified mail with postage and fees prepaid, addressed to
              each of the other parties thereunto entitled at the following addresses or at such other
              addresses as a party may designate by ten (10) days' advance written notice to each of
              the other parties hereto.

          15. By signing these Joint Escrow Instructions, you become a party hereto only for the purpose
              of said Joint Escrow Instructions; you do not become a party to the Agreement.

          16. This instrument shall be binding upon and inure to the benefit of the parties hereto,
              and their respective successors and permitted assigns.

          17. These Joint Escrow Instructions shall be governed by the internal substantive laws, but
              not the choice of law rules, of Colorado.


          SHAREHOLDER                                              ONEMATA CORPORATION



          Signature                                                William W. Smith III
                                                                   President


          ESCROW AGENT



          William W. Smith, III, Secretary
          Dated Effective January 1, 2020




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